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    EnjoyGIFTS
          complimentary shipping and
               & PERSONALIZATION     returns.
                                   WHAT'S  NEWAll orders are presented
                                                    WOMEN'S    FASHION in an iconic
                                                                          MEN'S     Dior gift BAGS
                                                                                FASHION       box.                JEWELRY & T




                                                             FAQ COUTURE




                                                             ABOUT THE DIOR.COM SITE (3)



                                                             SECURITY AND CONFIDENTIALITY

                                                             WHAT IS DIOR'S POLICY ON CONFIDENTIALITY?


                                                             The processing, confidentiality, and security of your personal
                                                             data is important to us. We are committed to offering you
                                                             personalized services while respecting your privacy and
                                                             choices in accordance with the applicable personal data
                                                             regulations, in particular, the General Data Protection
                                                             Regulation (GDPR) for customers residing in the EU, and those
                                                             regulations applicable to you as residents of your home State
                                                             for customers residing in the US.

                                                             In order to provide you with the same personalized service
                                                             worldwide, your data may be utilized by Christian Dior Couture
                                                             entities situated in France and abroad, including countries
                                                             where the applicable personal data legislation differs from that
                                                             enforced in your own country or within the European Union. For
                                                             example, we may need to use your personal data in order to
                                                             access your purchase history from a boutique. Your personal
                                                             data might also be processed by Christian Dior Couture for the
                                                             purposes described above by our trusted third-party suppliers.
                                                             We take all necessary safeguards, notably contractual,
                                                             technical, and organizational measures to guarantee the
                                                             privacy and security of your data and to protect such data
                                                             from any misrepresentation, damage, destruction, or access
                                                             by unauthorized third parties.

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                                                        It is important that you can control your personal data. In
          GIFTS & PERSONALIZATION              WHAT'S NEW      WOMEN'Swith
                                                        accordance       FASHION   MEN'S
                                                                            GDPR, you haveFASHION
                                                                                             the right BAGS   JEWELRY
                                                                                                       to access and & T
                                                             make corrections to your personal data, in addition to the right
                                                             to request its removal, to oppose the use of your data
                                                             providing you have a legitimate reason, and to obtain
                                                             limitation and portability as far as this is applicable. You are
                                                             also able to request to no longer receive personalized
                                                             communications about our products and services.

                                                             If you have any questions or concerns about how we process
                                                             and use your personal data or would like to exercise any of the
                                                             rights described above, please contact Client Service Center.
                                                             You may also contact our Data Protection Officer at the
                                                             following address: privacy@christiandior.com.


                                                             DISCOVER NEWS FROM DIOR

                                                             HOW CAN I FOLLOW DIOR NEWS?


                                                             By subscribing to the Dior Newsletter, you will be one of the first
                                                             to hear about new products, events and news from the House
                                                             of Dior.

                                                             HOW CAN I SUBSCRIBE/UNSUBSCRIBE TO THE DIOR NEWSLETTER?


                                                             To subscribe to our newsletter, please visit the "Newsletter"
                                                             section and fill in the registration form.
                                                             If you wish to unsubscribe from our newsletter, click on the link
                                                             at the bottom of each Dior newsletter.
                                                             You can also contact our Client Service Center with any
                                                             questions regarding our Dior newsletter. Our Client Advisors will
                                                             be delighted to assist you.



                                                             DIOR FASHION SHOWS

                                                             HOW CAN I ATTEND A DIOR FASHION SHOW?


                                                             Dior does not sell tickets to the fashion shows. Guests invited to
                                                             our fashion shows are selected by our press relations
                                                             department located at our Paris headquarters.
                                                             However, you can view our fashion shows by going to the
                                                             "Women's Fashion" section and/or the “Men’s Fashion” section
                                                             on the Dior.com website.

                                                             HOW CAN I WATCH A DIOR FASHION SHOW?


                                                             You can view Dior fashion shows by going to the Dior.com
                                                             website, and clicking on "Women's Fashion" or "Men's Fashion".


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                                                        You will find our Haute Couture fashion shows as well as "ready-
          GIFTS & PERSONALIZATION              WHAT'S NEW   WOMEN'S
                                                        to-wear"        FASHION
                                                                   and the          MEN'S
                                                                           silhouettes fromFASHION   BAGS JEWELRY & T
                                                                                            the catwalks.




                                                             ONLINE BOUTIQUE (9)



                                                             DIOR PRODUCTS

                                                             CAN I PURCHASE DIOR PRODUCTS ON THE ONLINE BOUTIQUE?


                                                             A product is available for online purchase whenever the word
                                                             “Order” appears. You can also contact the Client Service
                                                             Center where our Client Advisors can assist you with your
                                                             purchases and, if you wish, reserve your articles at the
                                                             boutique of your choice. Please note that unlike Dior.com, the
                                                             physical Dior boutiques can only ship to the payment billing
                                                             address.

                                                             HOW CAN I FIND A DIOR BOUTIQUE?


                                                             Dior products are sold in more than 220 Dior boutiques around
                                                             the world.
                                                             You can find the list of our Dior boutiques at Dior.com by
                                                             clicking on "Boutiques"

                                                             HOW CAN I FIND OUT IF A PRODUCT IS AVAILABLE ON DIOR.COM?


                                                             Some of our Dior items are available for purchase on the
                                                             Dior.com website. In order to check the availability of an item,
                                                             choose the article that interests you on our website and click
                                                             on it. This will result in one of three things:

                                                             - If the "Add to Cart" button appears, this means that you can
                                                             order it online. Please be aware that only the available sizes will
                                                             be displayed.

                                                             - If a “pre-order” button appears, this means that you are
                                                             invited to order and pay for the product prior to its official
                                                             release date. Please refer to the “Pre-Orders” section of this
                                                             FAQ for additional information and terms.

                                                             - It is, however, possible that the item you are looking for is not
                                                             available for online purchase, in which case it will be marked
                                                             "only available in boutiques".

                                                             You can also contact the Client Service Center, where our
                                                             Client Advisors will be delighted to assist you with your


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                                                        purchases and, if you wish, reserve your articles at the
          GIFTS & PERSONALIZATION              WHAT'S NEW   WOMEN'S
                                                        boutique      FASHION
                                                                 of your choice. MEN'S FASHION BAGS JEWELRY & T

                                                             HOW CAN I FIND A PRODUCT ON DIOR.COM?


                                                             The products on the website are organized by categories and
                                                             by product line.
                                                             Please use the search engine, indicated by a magnifying glass,
                                                             and enter the key words. All the products with a relevant
                                                             match to your search will be presented.

                                                             If you have seen a Dior product in the press (magazine, TV ad,
                                                             social media, etc.) that is of interest to you and you cannot
                                                             find it on our website, please contact our Client Service
                                                             Center. Our Client Advisors will provide you with information on
                                                             the product features and availability in boutiques.

                                                             HOW CAN I FIND OUT THE PRICE OF A DIOR PRODUCT THAT IS NOT ON THE
                                                             WEBSITE?


                                                             We invite you to visit one of our Dior boutiques to discover our
                                                             selection of items and prices. We will be happy to show you
                                                             our collections. You can find the list of our Dior boutiques at
                                                             Dior.com by clicking on “Boutiques”.

                                                             You may also contact our Client Service Center for assistance
                                                             Monday to Saturday from 10am to 10pm (EST) and on Sunday
                                                             from 11am to 7pm (EST).


                                                             YOUR ACCOUNT

                                                             HOW CAN I CREATE AN ACCOUNT?


                                                             You can create your Dior customer account by clicking on the
                                                             "Your Account" section located in the menu at the top of our
                                                             website. Then click on "Create an Account" and fill in the
                                                             obligatory information marked with an asterisk. Finally, click on
                                                             "Validate". You will be sent a confirmation email to the address
                                                             provided when creating your account.If you require assistance
                                                             or further information, please contact our Client Service
                                                             Center.

                                                             WHAT ARE THE ADVANTAGES OF CREATING AN ACCOUNT?


                                                             Creating an account on Dior.com enables you to be identified
                                                             quickly by Dior when you make online purchases.
                                                             You can also:
                                                             - consult your order history
                                                             - track the delivery of your orders


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                                                        - exchange or return products
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        - update      FASHIONinformation
                                                                 your contact    MEN'S FASHION               BAGS   JEWELRY & T

                                                             For your security, Dior.com does not save your credit card
                                                             information.

                                                             CAN I MAKE CHANGES OR CANCEL MY ACCOUNT ON DIOR.COM?


                                                             You can modify the information on your Dior account by
                                                             clicking on "Your account". Enter your user ID and your
                                                             password and, once you are logged in, click on "My profile" to
                                                             change or delete information.
                                                             If you want to delete your account, please contact our Client
                                                             Service Center where a Client Advisor will assist you with the
                                                             steps to follow.

                                                             HOW CAN I FIND MY ACCOUNT PASSWORD?


                                                             If you forget your password, click on "Your account" and then
                                                             on "Forgot my password". An email will be sent to you to reset
                                                             your password.


                                                             YOUR ORDER

                                                             HOW CAN I PLACE AN ONLINE ORDER?


                                                             Some of our Dior products are available for purchase on
                                                             Dior.com.
                                                             To place an order, add a product to your basket by clicking
                                                             “Add to Cart” or “Pre-Order” on the selected product page.
                                                             Please also select the size and quantity you want to order, if
                                                             required. Once you have selected your items, complete your
                                                             order by clicking on “My basket” and then “Proceed to
                                                             Checkout”.
                                                             You can then modify or validate your basket and select your
                                                             delivery method before making your payment.
                                                             You will be asked to complete your delivery and billing address
                                                             by selecting one of the following three options:
                                                             - log on to your Dior account if you already have one
                                                             - create a Dior account if you are ordering for the first time on
                                                             Dior.com
                                                             - continue as a guest; this option enables you to place an
                                                             order without creating an account, but your order history will
                                                             not be saved. Select your method of payment and fill in the
                                                             information to complete your order.

                                                             Within a few minutes, you will receive an email confirming your
                                                             order. When your order is shipped, you will receive a second



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                                                        email with a tracking number so that you can track your
          GIFTS & PERSONALIZATION              WHAT'S NEW  WOMEN'S
                                                        package's       FASHION MEN'S FASHION BAGS JEWELRY & T
                                                                   shipping.

                                                             For additional terms applicable to pre-orders, please refer to
                                                             “Pre-Orders” section of this FAQ.
                                                             For further information, do not hesitate to contact the Client
                                                             Service Center.

                                                             HOW CAN I GET HELP WITH PLACING MY ORDER?


                                                             Our Client Advisors are available to help you with your order.
                                                             You can contact our Client Service Center from Monday to
                                                             Saturday from 10am to 10pm (EST) and on Sunday from 11am
                                                             to 7pm (EST).

                                                             CAN I CANCEL OR CHANGE MY ORDER?


                                                             Orders of in-stock items process quickly to ensure they arrive to
                                                             you as soon as possible, due to this, modifications to your order
                                                             details are not possible. Should you need to cancel, please
                                                             contact the Client Service Center – our Client Advisors will do
                                                             their best to assist you with your request.

                                                             For terms applicable to pre-orders, please refer to the “Pre-
                                                             Orders” section of this FAQ.

                                                             HOW CAN I ACCESS MY ORDER HISTORY?


                                                             If you have created a Dior customer account, you can view
                                                             your order history. Simply log in to your account and click on
                                                             “My Fashion & Accessories orders.” You may then select your
                                                             desired order to view the details of your purchase, the status of
                                                             your shipment, and information on your returns.

                                                             If you have placed an order as a guest and wish to obtain your
                                                             order information, you may visit the Manage Your Order
                                                             portion of our Delivery and Returns page.

                                                             HOW IS MY ORDER PREPARED?


                                                             After you have validated your order, it will be processed as
                                                             quickly as possible. You will receive an email notification once
                                                             your unique UPS tracking number is generated and your order
                                                             is ready to ship. To provide you with the Dior experience, we
                                                             pay particular attention to the preparation of your order. Each
                                                             order is prepared in a Dior workshop, and individually
                                                             packaged in a seasonal or iconic Dior gift box. The Dior Gift
                                                             box is then inserted into discreet shipping packaging that will
                                                             protect it during shipping. There may be a number of select
                                                             products that are not presented with a Dior gift box. Products
                                                             that include a dust bag will have this indicated within the
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                                                        product description on Dior.com. Relevant products will
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        include       FASHION
                                                                warranties and/or MEN'S FASHION certificates
                                                                                  authentication   BAGS JEWELRY
                                                                                                             and a & T
                                                             return label will be included with each order.

                                                             HOW CAN I GET A RECEIPT FOR MY ONLINE PURCHASE?


                                                             If you have created a Dior customer account, you can view
                                                             your order history. Simply, log in to your account and click on
                                                             “My Fashion & Accessories orders.” You may select "View
                                                             Invoice” to download your receipt. If you have placed an
                                                             order as a guest, you may view your Dior invoice by using your
                                                             order number and email on the Manage Your Order portion of
                                                             our Delivery and Returns page. Once logged in, you may
                                                             select "View Invoice” to download your receipt.

                                                             Orders purchased on our Dior online Boutique are not eligible
                                                             to have their receipt reprinted at a Dior boutique or at an
                                                             authorized Dior Dealer. By the same token, a receipt from our
                                                             Dior boutiques or from an authorized Dior Dealer may not be
                                                             reprinted through the online Boutique.

                                                             WHY WAS MY ORDER/ITEM CANCELLED?


                                                             Orders can be cancelled when the item is no longer available,
                                                             the order is abnormal (for example, the order does not meet
                                                             the standard terms and conditions, an inaccurate delivery
                                                             address, placed by a customer with whom there is an
                                                             outstanding or previous dispute or an order that exceeds the
                                                             order thresholds) or due to an exceptional technical issue.

                                                             Pre-orders may be cancelled if the item is unable to be
                                                             shipped within 30 days after the shipment date provided at the
                                                             time you placed the pre-order. For additional terms applicable
                                                             to pre-orders, please refer to the “Pre-Orders” section of this
                                                             FAQ.

                                                             Orders are intended to be sold exclusively to end buyers for
                                                             their personal needs and are not
                                                             intended for resell or commercial purposes. If commercial
                                                             activity is suspected, orders can be cancelled.

                                                             When an order is cancelled, we will inform you by email and/or
                                                             telephone as soon as possible. Please contact the Client
                                                             Service Center if you have additional questions.

                                                             WHY WAS MY ORDER/ITEM NO LONGER IN STOCK?


                                                             We pay particular attention to ensure the accuracy
                                                             of product availability on Dior.com. However, there may be
                                                             times the product(s) ordered are no longer available due to
                                                             limited availability. When this happens, we will inform you by

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                                                        email and/or telephone as soon as possible. We also invite you
          GIFTS & PERSONALIZATION              WHAT'S NEW     WOMEN'S
                                                        to sign         FASHION
                                                                up for email        MEN'S should
                                                                             notifications FASHION   BAGS item
                                                                                                 the desired JEWELRY
                                                                                                                be & T
                                                             made available again. You may also contact the Client
                                                             Service Center – our Client Advisors will be pleased to offer
                                                             similar suggestions and alternatives.

                                                             WHAT ARE THE GUIDELINES FOR A CUSTOMIZED ABCDIOR ORDER?


                                                             Certain Dior items are eligible for the ABCDior customization
                                                             service currently through our boutiques only and coming soon
                                                             to Dior.com.

                                                             To customize the product, you’ll be invited to let us know the
                                                             name or the initials you wish to appear on the item. Every order
                                                             will be verified by a specialist to confirm the customization
                                                             request, according to the following guidelines:

                                                             -Uppercase letters in the Roman alphabet only
                                                             -No numbers or special characters
                                                             -Only first names or initials are allowed
                                                             -Nicknames, acronyms, company names, insults, and brand
                                                             names are not allowed. The company reserves the right to
                                                             deny a personalization request deemed as inappropriate per
                                                             brand’s guidelines.

                                                             In boutiques, once your request has been verified, the
                                                             customization process will proceed. In the case of a denied
                                                             request, your Christian Dior representative will contact you to
                                                             further assist.

                                                             On Dior.com, once your request has been verified, you will
                                                             receive a confirmation email. In the case of a denied request,
                                                             your order will be canceled and a Christian Dior representative
                                                             will contact you to assist in the confirmation of a new order.

                                                             Please remember customized products cannot be returned or
                                                             exchanged.

                                                             CAN I PERSONALIZE AN ELIGIBLE ITEM AFTER MY PURCHASE?


                                                             Our network of boutiques would be delighted to help you with
                                                             your previous purchase of an item eligible for the ABCDior
                                                             customization service. You can find the list of our Dior boutiques
                                                             by clicking on "Boutiques"


                                                             I WOULD LIKE TO GIVE A DIOR GIFT

                                                             WILL MY ORDER BE SENT IN A GIFT-WRAPPED PACKAGE?


                                                             To provide you with the Dior experience, we pay particular
                                                             attention to the preparation of your order. Each order is
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                                                        prepared in a Dior workshop, and individually packaged in a
          GIFTS & PERSONALIZATION              WHAT'S NEW   WOMEN'S
                                                        seasonal       FASHION
                                                                 or iconic Dior giftMEN'S FASHION
                                                                                    box. The Dior GiftBAGS      JEWELRY & T
                                                                                                       box is then
                                                             inserted into discreet shipping packaging that will protect it
                                                             during shipping. There may be a number of select products
                                                             that are not presented with a Dior gift box. Products that
                                                             include a dust bag will have this indicated within the product
                                                             description on Dior.com.

                                                             CAN I SEND A PERSONAL MESSAGE ALONG WITH MY ORDER?


                                                             Before validating your order, you will be able to write a
                                                             personalized message that will be printed and included with
                                                             your order. The message will be printed on a card and inserted
                                                             into a Christian Dior envelope.

                                                             WILL THE PRICE OF THE ORDER APPEAR?


                                                             If you place an order via your customer account on the
                                                             Dior.com website, the receipt will be sent directly to you
                                                             electronically at the email address registered to your account.
                                                             Price tags will be removed from the items you order.

                                                             CAN THE GIFT RECIPIENT EXCHANGE THEIR GIFT?


                                                             Gifts purchased on Dior.com can be exchanged for size
                                                             and/or color. All exchanges are automatically shipped to the
                                                             original delivery address.

                                                             If the gift recipient would prefer a return, all refunds will be
                                                             issued to the original form of payment. We are unable to issue
                                                             a credit for products purchased on Dior.com. All returns and
                                                             exchanges will result in email notifications to the original
                                                             purchaser.

                                                             For additional options and assistance with gift exchanges or
                                                             returns, please contact the Client Service Center – our Client
                                                             Advisors will be delighted to guide you through the process.


                                                             YOUR PAYMENT

                                                             WHAT PAYMENT OPTIONS ARE ACCEPTED ON THE DIOR.COM WEBSITE?


                                                             Payments are accepted via MasterCard, Visa, Discover,
                                                             American Express PayPal and Apple Pay with a valid billing
                                                             address.

                                                             Prepaid cards and unregistered prepaid gift cards are not
                                                             encouraged and may not be accepted on Dior.com.




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                                                        You may also contact our Client Service Center for assistance
          GIFTS & PERSONALIZATION              WHAT'S NEW
                                                        with WOMEN'S
                                                             your orderFASHION    MEN'S FASHION
                                                                        through a secure           BAGS JEWELRY & T
                                                                                         payment link.

                                                             IS AN ONLINE PURCHASE ON DIOR.COM SECURE?


                                                             All transactions done on the Dior.com website are extremely
                                                             secure. An SSL encryption system is in place to protect personal
                                                             data and payment information. In addition, Dior makes a
                                                             commitment to you not to save any credit card information.

                                                             In case of doubt, please contact our Client Service Center to
                                                             place your order by phone from Monday to Saturday from
                                                             10am to 10pm (EST) and on Sunday from 11am to 7pm (EST).

                                                             WHEN WILL MY PAYMENT BE DEBITED FROM MY ACCOUNT?


                                                             Upon completion of your Dior.com order, payment
                                                             authorization will be requested and held.

                                                             For orders of in-stock items, your card is not charged at this
                                                             time, the payment settlement occurs when the order is
                                                             shipped from our workshop. If your order contains multiple
                                                             shipments, your selected method of payment will be settled
                                                             separately for each shipment. Should your order incur shipping
                                                             fees, they will only be charged once.

                                                             For pre-orders, your card will be charged in full at or shortly
                                                             after you place the pre-order. This is necessary to ensure you
                                                             receive your pre-ordered Dior product promptly upon its official
                                                             release. For additional terms applicable to pre-orders, please
                                                             refer to the “Pre-Orders” section of this FAQ.

                                                             WHAT SALES TAX WILL I BE CHARGED?


                                                             Your sales tax will automatically be calculated and added to
                                                             your order total upon entering your shipping address and
                                                             selecting your shipping method.

                                                             WILL I BE CHARGED SALES TAX IF THERE IS NOT A DIOR BOUTIQUE NEAR THE
                                                             SHIPPING ADDRESS?


                                                             Dior is required to charge sales tax based on the tax rates of
                                                             the shipping address regardless of the presence of a physical
                                                             Dior boutique in that state. The tax rate will be calculated
                                                             based on the shipping address and shipping method provided
                                                             during the ordering process.

                                                             CAN I USE TAX EXEMPT DOCUMENTS ON MY DIOR.COM ORDER?


                                                             Sales tax exemption inquiries are not able to be honored
                                                             through dior.com orders, however, our boutiques would be

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                                                        delighted to assist in-store. We recommend you contact the
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        boutique       FASHION
                                                                 in advance          MEN'S FASHION
                                                                                for seamless          BAGS JEWELRY & T
                                                                                             processing.



                                                             YOUR DELIVERY

                                                             ARE THERE ANY DELIVERY RESTRICTIONS?


                                                             Items can only be delivered to the shipping address indicated
                                                             at the time of placing the order (including pre-orders).
                                                             Addresses cannot be modified once the order has been
                                                             placed or once the order is in transit. A signature is required
                                                             upon delivery and cannot be waived. Orders cannot be
                                                             delivered to hotels, freight forwarders, military bases, post office
                                                             boxes or United States Territories. Our carrier will attempt to
                                                             deliver your order up to three times before returning it to our
                                                             distribution center.

                                                             HAS MY ORDER BEEN SENT?


          CATEGORIES                                         If you have created a Dior customer account, you can view
                                                             your order status at any time. Simply log in to your account
                                                             and click on “My Fashion & Accessories orders.” You may then
          ABOUT THE DIOR.COM
                                                             select your desired order, view the details of your purchase
          SITE (3)
                                                             and the status of your shipment. You will then be able to
                                                             consult the status of your order:
          ONLINE BOUTIQUE (9)
                                                             In preparation: the order has been validated and is being
          DIOR AND YOU (2)
                                                             prepared.
            HOW CAN I BE INFORMED
                                                             Completed: the order has been shipped to the delivery
            OF EXHIBITIONS ABOUT
                                                             address that you provided when you placed your order online.
            DIOR?
                                                             You can track your order using the tracking number at the
            HOW CAN I FIND OUT                               following address: http://www.ups.com
            MORE ABOUT DIOR?
                                                             Cancelled: The order has been cancelled by you or due to
                                                             lack of availability of the product. It is also possible that
          THE DIOR SELECTION (1)
                                                             payment of your order has not been validated.
          CLIENT SERVICE CENTER
                                                             If you have placed an order as a guest and wish to obtain your
          (2)
                                                             order status, you may visit the Manage Your Order portion of
          BOOK AN                                            our Delivery and Returns page.
          APPOINTMENT (1)
                                                             HOW CAN I TRACK THE DELIVERY OF MY ORDER?


                                                             Once your Dior.com order has shipped you will receive a
                                                             confirmation email with your unique UPS tracking number
                                                             included. If you have created your customer account, you
                                                             can view your order status at any time. Simply log in to your
                                                             account and click on “My Fashion & Accessories orders.”



https://www.dior.com/en_us/fashion/faq-couture#dior-and-you-how-can-i-find-out-more-about-dior                                      11/22
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                                                        Select the desired order, and then you may press “Track my
          GIFTS & PERSONALIZATION              WHAT'S NEW   WOMEN'S FASHION MEN'S FASHION BAGS JEWELRY & T
                                                        order.”

                                                             If you have placed an order as a guest, you may view your
                                                             Dior purchase status by using your order number and email on
                                                             the Manage Your Order portion of our Delivery and Returns
                                                             page. You will receive email confirmation once your order has
                                                             been delivered.

                                                             Please note during peak periods delivery times may take
                                                             longer. Additionally, our workshop and/or carriers may be
                                                             closed on National Holidays or experience inclement weather
                                                             delays etc.

                                                             HOW LONG DOES DELIVERY TAKE?


                                                             Orders are prepared and dispatched Monday through Friday
                                                             when placed by 2pm EST or the following business day when
                                                             placed after 2pm EST. Should any items be unavailable, the
                                                             preparation time may be modified. Availability delays will be
                                                             communicated.

                                                             Delivery time is estimated from the time your order is shipped.
                                                             Depending on your shipping destination and the specificity of
                                                             your order, Dior offers up to three rapid and secure delivery
                                                             options :

                                                             -Standard Shipping (1 to 5 business days depending on the
                                                             location): Free for all orders

                                                             -Express Delivery (guaranteed, 2 business days): $25; Free for
                                                             orders over $3,000

                                                             -Next Day (guaranteed, overnight on business days): $35; Free
                                                             for orders over $3,000

                                                             The exact delivery date including the preparation of your order
                                                             and shipping will be determined at checkout. Orders shipping
                                                             to remote areas of Alaska and Hawaii may experience longer
                                                             shipping lead time, which will be reflected correctly at
                                                             checkout according to the zipcode of delivery.

                                                             Orders including Fine Jewelry and Watches are automatically
                                                             upgraded to Express delivery.

                                                             Deliveries will be made Monday through Friday (excluding
                                                             holidays) and on Saturday in eligible locations. A signature will
                                                             be required upon delivery. Dior cannot be held responsible for
                                                             any unanticipated delivery delays such as inclement weather
                                                             on the delivery route. Our carrier will attempt to deliver your
                                                             order up to three times before returning it to our distribution
                                                             center.

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                                                        A select number of boutiques offer our Pick-up in Store service
          GIFTS & PERSONALIZATION              WHAT'S NEW     WOMEN'S
                                                        for items      FASHION
                                                                  ordered          MEN'S
                                                                          online. This     FASHION
                                                                                       delivery option BAGS     JEWELRY & T
                                                                                                       will be offered
                                                             upon confirmation of your order if the items in your basket are
                                                             eligible.

                                                             I PLACED AN ORDER BUT I HAVE NOT RECEIVED MY PACKAGE. WHAT CAN I
                                                             DO?


                                                             If you have created a Dior customer account, you can view
                                                             your order status at any time. Simply log in to your account
                                                             and click on “My Fashion & Accessories orders.” You may then
                                                             select your desired order, view the details of your purchase
                                                             and the status of your shipment.

                                                             If you have placed an order as a guest, you may view your
                                                             Dior order status by using your order number and email
                                                             on the Manage Your Order portion of our Delivery and
                                                             Returns page.

                                                             If you do not receive your package within the expected
                                                             delivery timeframes mentioned above, please contact UPS
                                                             Customer Service to get an update on the status of your
                                                             order. For further assistance, you may also contact the Client
                                                             Service Center.


                                                             RETURNING YOUR ORDER

                                                             CAN I RETURN OR EXCHANGE A PRODUCT PURCHASED ON DIOR.COM IN A
                                                             BOUTIQUE?


                                                             Products purchased on the Dior online Boutique may not be
                                                             returned at a Dior boutique or at an authorized Dior Dealer.
                                                             By the same token, a product purchased at a Dior boutique or
                                                             from an authorized Dior Dealer may not be returned or
                                                             exchanged through the online Boutique.

                                                             CAN I RETURN A PRODUCT THAT WAS ORDERED ONLINE FOR EXCHANGE OR
                                                             REFUND?


                                                             You can return any order to us within 30 days of receiving it.

                                                             Product(s) must be returned in the original packaging,
                                                             accompanied by any accessories and documents provided
                                                             (notices, guarantees, return tags, certificates of authenticity).
                                                             Any damaged, used, incomplete or soiled product(s) cannot
                                                             be returned or exchanged. All shoes must be tried on a soft,
                                                             clean and dry carpeted area in order to avoid any damage to
                                                             the soles. Failure to do so may result in non-acceptance of
                                                             your return or exchange.


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                                                        Similarly, personalized items produced according to and/or at
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        the request      FASHION
                                                                     of the         MEN'S
                                                                            customer,      FASHIONthatBAGS
                                                                                       or products           JEWELRY & T
                                                                                                       have been
                                                             altered, as well as sealed items (swimwear, etc.) that have
                                                             been unsealed after delivery and cannot be returned for
                                                             reasons of hygiene or health protection cannot be
                                                             exchanged. Regarding bags with MyABCDior badges, by
                                                             returning a bag on its own, without the badges purchased at
                                                             the same time, you will no longer be eligible for the preferential
                                                             pricing you received on these badges at the time of purchase.
                                                             The amount you originally saved will be deducted from your
                                                             refund.

                                                             An item can only be exchanged once, the item received in
                                                             exchange can therefore only be returned for a refund under
                                                             the usual conditions.

                                                             Once your order has reached our workshop it will be verified
                                                             by our experts. If the product meets our return conditions, you
                                                             will be reimbursed to your original payment method, or your
                                                             exchange order will be processed. Any item that is returned
                                                             damaged, used, incomplete, or soiled will not be refunded
                                                             and will be sent back to you. Please allow up to 14 business
                                                             days for all returns and exchanges to be processed.

                                                             HOW CAN I RETURN A PRODUCT?


                                                             Your Dior purchase may be returned using the provided return
                                                             label within each Dior parcel.

                                                             You may also log in to your customer account for additional
                                                             options. Simply log in to your account and click on “My Fashion
                                                             & Accessories orders.” You may then select your desired order
                                                             and manage your choices from there. You may choose to
                                                             have your return picked up from your delivery address or a
                                                             new address as well as a preferred time slot. From here, you
                                                             can also reprint a prepaid shipping label if needed. If you
                                                             prefer to drop off your package to a UPS facility, please collect
                                                             a drop off receipt when visiting the UPS location for
                                                             confirmation.

                                                             If you have placed an order as a guest, you may manage your
                                                             return by using your order number and email on the Manage
                                                             Your Order portion of our Delivery and Returns page.

                                                             If you choose to return your order through your own means
                                                             and expense, you will not be refunded. We advise to keep all
                                                             tracking information handy after returning your items for proof
                                                             of delivery and to take all the necessary precautions to ensure
                                                             that your product is protected.




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                                                             CAN I RETURN OR EXCHANGE A PRODUCT THAT I PURCHASED OUTSIDE OF
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        THE UNITED STATES?FASHION                MEN'S FASHION   BAGS   JEWELRY & T


                                                             At this time, we are unable to accept any returns or
                                                             exchanges on items purchased outside of the United States.
                                                             Returns are also limited between Hawaii and the Continental
                                                             United States. For further information, do not hesitate to
                                                             contact the Client Service Center.

                                                             ARE THERE DIFFERENCES WHEN RETURNING AN ARTICLE BOUGHT FROM
                                                             ANOTHER DISTRIBUTION CHANNEL?


                                                             When making a purchase in a Dior boutique, the following list
                                                             of items are final sale: evening wear, exotic skins, furs, fine
                                                             jewelry, watches, earrings, cosmetics, bathing suits, lingerie,
                                                             eyewear, sale merchandise, personalized merchandise,
                                                             special orders, or on merchandise that has been altered or
                                                             worn.

                                                             When making a purchase through an authorized Dior dealer,
                                                             the purchase is subject to their specific return and exchange
                                                             policy which may differ from a Dior boutique or Dior.com.

                                                             WHAT DO I NEED TO DO IF MY PRODUCT IS DAMAGED OR IF IT IS NOT THE
                                                             PRODUCT I ORDERED?


                                                             If one of your products is damaged or the items delivered do
                                                             not correspond to your order, please contact the Client Service
                                                             Center.

                                                             REPEATED RETURNS


                                                             We offer a flexible returns policy to facilitate your online
                                                             shopping experience. We also monitor the number of returns
                                                             made by our customers. Repeated returns in breach of our
                                                             General Sales Conditions will be flagged and may, at our
                                                             discretion, lead to the closure of your dior.com account or
                                                             refusal of future orders.



                                                             PRE-ORDER

                                                             WHAT IS A PRE-ORDER?


                                                             If you are invited to pre-order a Dior product, or a “pre-order”
                                                             button appears on a product page on the Dior.com, this
                                                             means that you have the opportunity to order the product
                                                             prior to its official release date, and it will be shipped to you
                                                             once Dior has the item in stock.



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                                                        Dior has developed this option to allow loyal customers the
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        opportunity    FASHIONspecial
                                                                    to reserve   MEN'S   FASHION
                                                                                      products      BAGS
                                                                                                ahead        JEWELRY
                                                                                                        of their official& T
                                                             release, and to better meet demand for certain products.

                                                             ARE PRE-ORDERED ITEMS IN STOCK?


                                                             Products available for pre-order have not yet been released
                                                             and may not even have been made at the time of your pre-
                                                             order.

                                                             WHEN WILL MY PRE-ORDERED ITEMS BE SHIPPED TO ME?


                                                             Dior provides an estimated shipping date for each pre-order
                                                             item on the product page, which will also be reflected in your
                                                             pre-order confirmation email. If no estimated shipping date is
                                                             indicated, then Dior will ship the product within 30 days of the
                                                             date you place the pre-order. By placing a pre-order, you
                                                             agree that you are able to wait the indicated time for the
                                                             product to ship to you, and to be delivered by our carrier.

                                                             If a delay or problem with preparing the product for shipment
                                                             should occur, Dior will notify you via the email address you
                                                             used to make the pre-order, and will advise you of your options
                                                             in that notice.

                                                             CAN I CANCEL OR CHANGE MY PRE-ORDER?


                                                             Changes to or cancellations of your pre-order are generally
                                                             not possible unless Dior notifies you of a delay or problem.
                                                             Should you need to request cancellation without having
                                                             received such a notification from Dior, please contact the
                                                             Client Service Center – our Client Advisors will do their best to
                                                             assist you with your request.

                                                             If Dior cannot ship a pre-ordered item by the estimated
                                                             shipping date provided to you at the time you completed the
                                                             pre-order (or within 30 days of your pre-order if no estimated
                                                             shipping date was indicated), then Dior will notify you via
                                                             email. That notice will explain your options depending on
                                                             whether and when Dior expects to be able to ship the item.

                                                             If Dior must cancel your pre-order, or if you request to cancel it
                                                             in response to an email providing that option, Dior will provide
                                                             a full refund via your original method of payment within 7
                                                             business days of the cancellation. Please note that, in this
                                                             situation, Dior is not permitted to issue store or online credit or
                                                             vouchers, or to exchange a different item for your pre-ordered
                                                             item.

                                                             WHEN WILL MY CARD BE CHARGED?


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                                                        For pre-orders, your card will be charged in full at or shortly
          GIFTS & PERSONALIZATION              WHAT'S NEW
                                                        afterWOMEN'S
                                                              you placeFASHION     MEN'S
                                                                         the pre-order.   FASHION
                                                                                        This           BAGS
                                                                                             is necessary       JEWELRY
                                                                                                          to ensure you & T
                                                             receive your pre-ordered Dior product promptly upon its official
                                                             release.

                                                             ARE THERE OTHER SPECIAL TERMS FOR PRE-ORDERS?


                                                             Except as specifically modified in this “Pre-Orders” FAQ section,
                                                             all other FAQs and website terms of use apply to pre-orders as
                                                             well.

                                                             Pick up in store may not be eligible for pre-orders if there are
                                                             multiple products in the order.

                                                             Your finalization of a pre-order means you consent to the terms
                                                             and conditions laid out in this “Pre-Orders” FAQ section.

                                                             Please see “Your Delivery” FAQs for Dior’s generally applicable
                                                             shipping and delivery terms, which also apply to pre-orders
                                                             except as otherwise explained in this section.

                                                             Please see “Returning Your Order” FAQs for Dior’s generally
                                                             applicable return terms, which also apply to pre-orders except
                                                             as otherwise explained in this section.



                                                             PICK-UP IN STORE

                                                             CAN I RECEIVE A DELIVERY IN-STORE?


                                                             A select number of boutiques offer our Pick-up in Store service
                                                             for items ordered online. This delivery option will be offered
                                                             upon confirmation of your order if the items in your basket are
                                                             eligible.

                                                             This delivery service is free.

                                                             HOW DO I PICK UP MY CLICK-AND-COLLECT ORDER?


                                                             You will receive an email as soon as your order is ready for
                                                             pick-up. Upon receipt, please come to the boutique along
                                                             with the email that you received and a valid form of
                                                             identification. You have up to 14 days following the receipt of
                                                             the email to collect your order.

                                                             CAN SOMEONE ELSE PICK UP MY ORDER?


                                                             If you cannot collect your order yourself, you may authorize a
                                                             secondary person (the nominee) to collect your order from the
                                                             Store Pick-up Location To do this, you can download a
                                                             delegation of authority form in My Account > My Orders.


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                                                        To pick-up your order, within 14 days from receiving your order
          GIFTS & PERSONALIZATION              WHAT'S NEW     WOMEN'S
                                                        is ready        FASHION
                                                                 notification,      MEN'S FASHION
                                                                               the nominee            BAGS
                                                                                           will need to bring: JEWELRY & T

                                                             -your ID,

                                                             -their ID,

                                                             -the confirmation email/text,

                                                             -the completed form to the store to pick-up your order within
                                                             14 days from receiving your order is ready notification.




                                                             DIOR AND YOU (2)



                                                             HOW CAN I BE INFORMED OF EXHIBITIONS ABOUT DIOR?

                                                             If you have subscribed to the Dior Newsletter, you will be kept
                                                             informed about all the Dior news (fashion shows, exhibitions,
                                                             new boutiques, etc.).

                                                             If you have not yet subscribed to the Newsletter, you can do so
                                                             for free by visiting the "Newsletter" section of the Dior.com
                                                             website.

                                                             If you are not interested in subscribing in the Dior Newsletter,
                                                             we invite you nonetheless to discover the News and Exhibitions
                                                             sections within Dior World accessible in the menu.



                                                             HOW CAN I FIND OUT MORE ABOUT DIOR?

                                                             For all information about Dior, please visit the News &
                                                             Events section of the www.Dior.com website. Subscribe to the
                                                             Newsletter to be one of the first to hear about new products,
                                                             events and news from the House of Dior. Also, do not hesitate
                                                             to contact the Client Service Center.




                                                             THE DIOR SELECTION (1)



                                                             DISCOVER THE DIFFERENT DIOR UNIVERSES

                                                             WHERE ARE DIOR PRODUCTS MANUFACTURED?




https://www.dior.com/en_us/fashion/faq-couture#dior-and-you-how-can-i-find-out-more-about-dior                                      18/22
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                                                        When the House of Dior creates products, it pays great
          GIFTS & PERSONALIZATION              WHAT'S NEW   WOMEN'S
                                                        attention      FASHION
                                                                  to ensuring      MEN'S
                                                                              that their  FASHION BAGS
                                                                                         manufacture       JEWELRY
                                                                                                     complies        &T
                                                                                                              with the
                                                             legislation in effect in France and in Europe. Dior is committed
                                                             to manufacturing its products in countries that have the best
                                                             expertise for the product in question.
                                                             Dior's leather goods collections are made in Europe.
                                                             Our shoes and ready-to-wear collections are manufactured in
                                                             France and in Italy.
                                                             Our watches are manufactured exclusively in our workshops in
                                                             Switzerland.
                                                             We produce our haute couture collection and fine jewelry
                                                             exclusively in our workshops in Paris, France.
                                                             Our Dior sunglasses and scarves are made in Italy.
                                                             Our Dior jeans are made in Japan.

                                                             The House of Dior frequently buys small workshops to preserve
                                                             these artisan trades (such as leather working in Florence, Italy
                                                             and watchmaking in Switzerland). In these workshops, the
                                                             selection of natural materials, as well as the care taken in each
                                                             phase of the process, perpetuate and renew our tradition of
                                                             excellence and elegance.

                                                             HOW CAN I GET A DIOR PRODUCT REPAIRED?


                                                             Dior offers its customers a range of repair services for any
                                                             products purchased in boutiques and on Dior.com.

                                                             If you wish to have Dior product repaired, please visit a Dior
                                                             boutique. The Boutiques section on Dior.com allows you to
                                                             locate your nearest boutique. The sales staff at our boutiques
                                                             will be delighted to guide you and answer any questions.
                                                             If you do not have a Dior boutique near you or you cannot
                                                             travel, do not hesitate to contact the Client Service Center.

                                                             To guarantee their quality, Dior products are repaired
                                                             exclusively in our workshops by our artisans.




                                                             CLIENT SERVICE CENTER (2)



                                                             HOW CAN I CONTACT DIOR?

                                                             The Client Advisors at Dior Client Service Center will
                                                             be delighted to provide you with personalized advice and
                                                             answer to your questions from Monday to Saturday from 10am
                                                             to 10pm (EST) and on Sunday from 11am to 7pm (EST) by
                                                             calling +1 800 929 3467 or by email at: contactdiorus@dior.com

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                                                        We also invite you to refer to our contact page to obtain all
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        our contact     FASHION MEN'S FASHION BAGS JEWELRY & T
                                                                     information.



                                                             WHAT ADDRESS SHOULD I USE TO WRITE TO DIOR?

                                                             You can also write to us at this address:

                                                             Christian Dior Couture
                                                             Client Service Center
                                                             510 Madison Ave
                                                             NEW YORK US NY 10022
                                                             United States




                                                             BOOK AN APPOINTMENT (1)


                                                             DO I HAVE TO BOOK AN APPOINTMENT BEFORE VISTING A DIOR STORE?


                                                             Absolutely not, you are more than welcome to visit our Stores.
                                                             You can find directly our stores via the « Store Locator ».
                                                             However, by booking an appointment with one of our Sales
                                                             Associates, you will benefit from a personalized shopping
                                                             service, without interruption.

                                                             Please be aware that the amount of stock in our boutiques
                                                             changes frequently, therefore we cannot guarantee items
                                                             availability even if you have booked an appointment. Indeed,
                                                             if you want to reserve a product in boutique, please see the
                                                             section “E-RESERVATION”.

                                                             IN WHICH DIOR STORES CAN I BOOK A PRIVATE APPOINTMENT?


                                                             You can select one of the Stores listed on the page « Store
                                                             Locator » or from the dropdown list available on the booking
                                                             window section via the « Contact page » .

                                                             HOW CAN I BOOK AN APPOINTMENT?


                                                             You can book your appointment by clicking on the button
                                                             « Book your Appointment » display on the « Contact page » or
                                                             directly by clicking on book an appointment icon on a store
                                                             selected by you on the store sheet via the page « Store
                                                             Locator » .

                                                             For your store appointment request, you will be pleased to
                                                             select on the appointment form, a store and a service. You
                                                             can choose a date and timeslot which is suitable for you.


https://www.dior.com/en_us/fashion/faq-couture#dior-and-you-how-can-i-find-out-more-about-dior                                    20/22
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                                                        You will need to fill in the form with your name, surname,
          GIFTS & PERSONALIZATION              WHAT'S NEW    WOMEN'S
                                                        telephone      FASHION
                                                                   number,            MEN'S FASHION
                                                                               email address           BAGS of
                                                                                              and the purpose  JEWELRY
                                                                                                                 your & T
                                                             appointment (for example, Discover our collections and new
                                                             arrivals).

                                                             HOW AND WHEN WILL MY APPOINTMENT BE CONFIRMED BY THE STORE?


                                                             Once your appointment request has been received by your
                                                             selected Store, we will send you an email confirming the
                                                             receipt of your request.

                                                             You will then receive a confirmation email once your
                                                             appointment has been confirmed by the Store and a Sales
                                                             Associate has been assigned for you.

                                                             A reminder of your appointment will be sent to you before the
                                                             scheduled date, by email (and by SMS if you have selected
                                                             this preference of contact).

                                                             HOW CAN I MODIFY OR CANCEL MY APPOINTMENT?


                                                             You can modify or cancel your appointment, via the link
                                                             communicated in your confirmation email or in your reminder
                                                             email.

                                                             Our Client Advisors are also available to help you from Monday
                                                             to Friday from 10 am to 8 pm and Saturday from 10 am to 6
                                                             pm by calling +44 (0)20 7172 01 72 or by email
                                                             at: contactdioreu@dior.com.

                                                             HOW ARE MY DATA MANAGED?


                                                             Your personal data are handled in accordance with Dior’s
                                                             privacy policy.



                    EXCLUSIVE SERVICES                IN-STORE APPOINTMENT                  ICONIC DIOR GIFT BOX       FREE DELIVERY




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